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EXHIBIT H
Case 2:09-cv-06244-WJM-MF Document 21-8 Filed 03/22/10 Page 2 of 2 PagelD: 224

JAN. 27. 2004 10:36AM RO 181 P.
HEALTH CARE PROFESSIONAL LIABILITY POLICY
REPORTING ENDORSEMENT — INSURED ORGANIZATION(S) ONLY
|
POLICYHOLDER; Mercer-Bucks Orthopaedics PC ENDORSEMENT
EFFECTIVE DATE: 12/31/2003
POLICY NUMBER: MP41275 TERMINATION DATE: 2431/2003

This endorsement amends the Professional Liability Coverage Part of the policy.

under the terms and conditions of the policy, because of any professional incident that occurred
retroactive date applicable to each insured organization and prior to the above-stated Termination D
first reported after such Termination Date,

Our limits of liability resulting from professional incidents first reported atter such Termination Date are}
The limit of liability stated for each insured organization as “Each Professional Incident” is the total of o
insured organization resulting from any one professional incident which is first reported after the Te
The limit of liability stated for each insured organization as “Aggregate” is the total of our liability t

.

organization resulting from all professional incidents that are first reported after the Termination Date.
If Additional Limits of Liability are shown below, such Additional Limits of Liability shall apply only (1) |

In consideration of an additional premium of $ 63,534.00, the insured organization(s) named below i

all be covered,
on or after the
te, but which is

nS stated below.

lability to such

rmination Date.
D such insured

© professional

incidents that occur after the Additional Coverage Retroactive Date shown below for each insured orgagization and (2)

after exhaustion of the Primary Limits of Liability applicable to such insured organization.

Except for nonpayment of premium and acts by an insured which render the policy terminable by us or!
may not be.cancelled by us.

INSURED ORGANIZATION(S)

Primary Limits of Liability

void, the policy

Name Each Professional
Incident

Mercer-Bucks Orthopaedics PG TA/1899 $1,000,000.00 $3,000,600.00

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